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- UNITED STATES bISTRICT COURT
soUTHERN DISTRICT OF NEW YORK

 

UBS REAL ESTATE SECURITIES,

 

 

Plaintiff, Case No. 07 Civ. 3700 (SAS)
(GWG)
- against -
ECF Case
COUNTY TRUST MORTGAGE BANKERS
CORP.,
Defendant.
MEMORANDUM OF LAW

IN SUPPORT OF PLAINTIFF’S MOTION
FOR SUMMARY JUDGMENT AS TO DAMAGES

MILLER se WRUBEL P. c.
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At t orn eys for

PlaintifoBS Real Estate Securities Inc.

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Plaintiff UBS Real Estate Securities Inc. (“UBS”) respectfully submits this
Memorandum of Law in support of its motion for summary judgment as to damages on
its First Cause of Action in favor of UBS and against defendant County Trust Mortgage
Bankers Corp. (“County Trust”) in the amount of $792,383.5 l.

Statement of Facts

By Order dated March 7, 2008, Judge Scheindlin granted UBS’s motion
for partial summary judgment on its First Cause of Action and found County Trust liable
for breaching its obligation to repurchase from UBS five mortgage loans (the “EPD
Mortgage Loans”) at a contractual Repurchase Price, as defined in the parties’ Purchase
Agreement. (Declaration of Christopher G. Schlnidt (“Schmidt Decl.”) 1§1§ 2-3;
Declaration of Jeremy M. Sher (“Sher Decl.”) 1§1§ 4, 6; Docket # 30.)

This Court has jurisdiction to order the entry of final judgment in this
action pursuant to Judge Scheindlin’s Order of Reference, dated May 12, 2008, and the
parties’ consent. (Sher Decl. 1§ ll; Docl<et # 35.) The only issue left for this Court to
decide is the amount of UBS’s damages arising from County Trust’s breach of its
obligation to repurchase the EPD Mortgage Loans.

UBS’s breach of contract damages consist of the Repurchase Price for
each EPD Mortgage Loan less the actual or estimated proceeds that UBS has realized or
Will realize from selling or liquidating those EPD Mortgage Loans. (Schmidt Decl. 1§ 6.) §

UBS sold two of the EPD Mortgage Loans (identified by UBS Loan ID
numbers 777021609 and 777013706) in good faith, commercially reasonable loan sales.
UBS realized damages of $294,714.43 due to County Trust’s failure to repurchase these

EPD Mortgage Loans at the Repurchase Price. (L 1§1§ ll, 20; Ex. A to Schmidt Decl.)

 

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UBS foreclosed upon the properties securing the other three EPD
Mortgage Loans (identified by UBS Loan ID numbers 334582213, 335338992, and
335338990). (Schmidt Decl. 1§ 12.) UBS sold the property securing the EPD Mortgage
Loan identified by UBS Loan ID number 334582213 in a good faith, commercially
reasonable sale. UBS realized damages of $189,004.32 due to County Trust’s failure to
repurchase this EPD Mortgage Loan at the Repurchase Price. (I_d. 1§1§ 13, 20; Ex. A to
Schmidt Decl.)

Due to unfavorable market conditions, UBS has not been able to obtain a
reasonable price for the other two foreclosed properties (the “Foreclosed Properties”),
Which remain unsold. (Schmidt Decl. 1§ 14.) UBS has provided reasonable estimates of
the foreclosure sale prices of the Foreclosed Properties. (L<L ‘§§1§ 15-19.) Based on these
estimates, UBS Will realize damages of $308,664.76 due to County Trust’s failure to
repurchase these two EPD Mortgage Loans at the Repurchase Price. (Li 1§ 20; EX. A to
Schmidt Decl.)

The aggregate of UBS’s damages arising from County Trust’s failure to
repurchase the EPD Mortgage Loans at the Repurchase Price is $792,383.51, no part of

Which has been paid. (Schmidt Decl. 1§1§ 21-22; EX. A to Schmidt Decl.)

Argument
UBS IS ENTITLED TO JUDGMENT IN THE AMOUNT OF $792,383.51 §

UBS is entitled to an award of damages that Would put it in the same §
economic position as if County Trust had repurchased the EPD Mortgage Loans at the
Repurchase Price. § Boyce v. Soundvievv Tech. Group, lnc., 464 F.3d 376, 391 (2d
Cir. 2006). Thus, UBS’s damages should equal the aggregate Repurchase Price of the

EPD Mortgage Loans less any amounts UBS has recouped or reasonably expects to

 

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recoup through mitigation § Scientiflc Components Corp. v. ISIS Surface Mounting,
L, 539 F. Supp. 2d 653, 662-63 (E.D.N.Y. 2008); Rosensaft v. Ashton Tech. Group,
L, No. 97 Civ. 3138 (SAS), 1998 WL 101959, at *2 (S.D.N.Y. Mar. 5, 1998). To
establish its damages, UBS “need only show a stable foundation for a reasonable estimate
of the damage incurred as a result of [County Trust’s] breach.” Tractebel Energy Mktg.,
Inc. v. AEP Power Mktg., lnc., 487 F.3d 89, 110 (2d Cir. 2007) (quoting Contemporary
Mission, lnc. v. Famous Music Corp., 557 F.Zd 918, 926 (2d Cir. 1977)) (internal
quotation marks omitted).

UBS has submitted proof its damages in the Declaration of Christopher G.
Schmidt, a UBS Executive Director (the “Schrnidt Declaration”), and the Damages
Spreadsheet attached thereto as Exhibit A. As described in the Schmidt Declaration,
UBS’s damages are based on the calculation of the Repurchase Price of each EPD
Mortgage Loan less the amounts UBS has recouped or expects to recoup through the sale
or liquidation of each EPD Mortgage Loan. (Schmidt Decl. 1§ 6.)

UBS has realized actual damages on the two EPD Mortgage Loans it sold
to non~parties. (LI. 1§1§ ll, 20; EX. A to Schmidt Decl.) UBS has calculated its estimated
recovery and damages on its sale of the Foreclosed Properties by taking 75% of recent
broker price opinion sale prices for these Properties, in accordance With industry practice
(Schmidt Decl. 1§1§ l4-l9; EX. A to Schmidt Decl.) Based on UBS’s realized and
reasonably estimated damages, UBS’s damages arising from County Trust’s failure to
repurchase the EPD Mortgage Loans at the Repurchase Price total $792,383.51.

(Schmidt Decl. 1§ 20; Ex. A. to Schmidt Decl.)

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Conclusion
F or the foregoing reasons, UBS respectfully requests that the Court enter
judgment on UBS’s First Cause of Action in favor of UBS and against County Trust in

the amount of $792,383.5 l.

Dated: August 8, 2008

MILLER & WRUBEL P.C.

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